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                           MITED LIABILITY COMPANY AGREEMENT
                                                  of
                                     WESTBOROUGH SPE LLC

This Limited Liability Company Agreement (the "Agreement") made and entered into this 8th day of
December 2022 (the "Execution Date"),

BETWEEN:

                  Denise Edwards of 1241 DEER PARK AVE, SUITE 1# 1051, and
                    Lolonyon Akouete of 1241 DEER PARK AVE, SUITE 1# 1051

                     (Individually the "Member" and collectively the "Members").

BACKGROUND:

    A. The Members wish to associate themselves as members of a limited liability company.


    B. The terms and conditions of this Agreement will govern the Members within the limited liability
       company.

IN CONSIDERATION OF and as a condition of the Members entering into this Agreement and other
valuable consideration, the receipt and sufficiency of which is acknowledged, the Members agree as
follows:

       Formation
    1. By this Agreement, the Members form a Limited Liability Company (the "Company") in
       accordance with the laws of the State of Delaware. The rights and obligations of the Members
       will be as stated in the Delaware Limited Liability Company Act (the "Act") except as otherwise
       provided in this agreement.


       Name
    2. The name of the Company will be WESTBOROUGH SPE LLC.


       Purpose
    3. To engage in and conduct any and all lawful business...


       Term
    4. The Company will continue until terminated as provided in this Agreement or may dissolve under
       conditions provided in the Act.


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      Place of Business
    5. The Principal Office of the Company will be located at 1241 DEER PARK AVE, SUITE 1 #
       1051 or such other place as the Members may from time to time designate.


      Capital Contributions
    6. The following is a list of all Members and their Initial Contributions to the Company. Each of the
      Members agree to make their Initial Contributions to the Company in full, according to the
      following terms:


                                                                       Value of
              Member              Contribution Description
                                                                     Contribution


                                 $3,000 wired transferred to
                                 an attorney for legal
                                 services, $430.00 to order
                                 Tax documents, $150.00 to
                                 Jan Blaustein Scholes-bill
                                 of sale deposit, mailing to
                                  Ka City IRS and Ca state
         Denise Edwards                                                      $5,000.00
                                  controller's office. $85.15,
                                  paid taxes owed in
                                  Delaware $796.50, $169.00
                                  paid for certificate of
                                  revive, revive course
                                  training $150.00, sweat
                                  equity 1,219.35.


                                  $2,000 wired transferred to
                                  attorney for legal services.
                                  Court documents
                                  purchased. $600, paid taxes
         Lolonyon Akouete         owed in Delaware $796.50,                  $5,000.00
                                  $169.00 paid for certificate
                                  of revive, revive course
                                  training $150.00, sweat
                                  equity 1,284.50
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      Allocation of Profits/Losses
    7. Subject to the other provisions of this Agreement, the Net Profits or Losses, for accou      g
      purposes, will accrue to and be borne by the Members in equal proportions.


   8. Each Member will receive an equal share of any Distribution.


   9. No Member will have priority over any other Member for the distribution of Net Profits or
      Losses.


      Nature of Interest
  10. A Member's Interest in the Company will be considered personal property.


      Withdrawal of Contribution
  11. No Member will withdraw any portion of their Capital Contribution without          unanimous
      consent of the other Members.


      Liability for Contribution
   2. A Member's obligation to make their required Capital Contribution can only be compromised or
      released with the consent of all remaining Members or as otherwise provided in this Agreement.
      If a member does not make the Capital Contribution when it is due, he is obligated at the option
      of any remaining Members to contribute cash equal to the agreed value of the Capital
      Contribution. This option is in addition to and not in lieu of any other rights, including the right
      to specific performance that the Company may have against the Member.


      Additional Contributions
  13. No Member will be required to make Additional Contributions. Any changes to Capital
      Contributions will not affect any Member's Interests except with the unanimous consent of he
      Members.


  14. Any advance of money to the Company by any Member in excess of the amounts provided for in
      this Agreement or subsequently agreed to, will be deemed a debt due from the Company rather
      than an increase in the Capital Contribution of the Member. This liability will be repaid with
      interest at such rates and times to be determined by a majority of the Members. This liability will
      not entitle the lending Member to any increased share of the Company's profits nor to a greater
      voting power. Repayment of such debts will have priority over any other payments to Members.
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      Capital Accounts
   15. An individual capital account (the "Capital Account") will be maintained for each Member and
      their Initial Contributions will be credited to this account. Any Additional Contributions made by
      any Member will be credited to that Member's individual Capital Account.


       Interest on Capital
   16. No borrowing charge or loan interest will be due or payable to any Member on their agreed
       Capital Contribution inclusive of any agreed Additional Contributions.

       Management
   17. Management of this Company is vested in the Members.

       Authority to Bind Company
   18. Any Member has the authority to bind the Company in contract.

       Duty of Loyalty
   19. While a person is a Member of the Company, and for a period of at least one year after that
       person ceases to be a member, that person will not carry on, or participate in, a similar business
       to the business of the Company within any market regions that were established or contemplated
       by the Company before or during that person's tenure as Member.

       Duty to Devote Time
   20. Each Member will devote such time and attention to the business of the Company as the majority
       of the Members will from time to time reasonably determine for the conduct of the Company's
       business,


       Member Meetings
   21. A meeting may be called by any Member providing that reasonable notice has been given to the
       other Members.

   22. Regular meetings of the Members will be held only as required.

       Votin
   23. Each Member will have a single equal vote on any matter.

       Admission of New Members
   24. New Members may be admitted into the Company by
   unanimous approval from existing partners.
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      Voluntary_ Withdrawal of a Member
  25. A Member may not withdraw from the Company without the unanimous consent of the remaining
      Members. Any such unauthorized withdrawal will be considered a wrongful dissociation and a
      breach of this Agreement. In the event of any such wrongful dissociation, the withdrawing
      Member will be liable to the remaining Members for any damages incurred by the remaining
      Members including but not limited to the loss of future earnings.


  26. The voluntary withdrawal of a Member will have no effect upon the continuance of the Company.


  27. It remains incumbent on the withdrawing Member to exercise this dissociation in good faith and
      to minimize any present or future harm done to the remaining Members as a result of the
      withdrawal.


      Involuntary Withdrawal of a Member
  28. Events leading to the involuntary withdrawal of a Member from the Company will include but
      not be limited to: death of a Member; Member mental incapacity; Member disability preventing
      reasonable participation in the Company; Member incompetence; breach of fiduciary duties by a
      Member; criminal conviction of a Member; Operation of Law against a Member or a legal
      judgment against a Member that can reasonably be expected to bring the business or societal
      reputation of the Company into disrepute. Expulsion of a Member can also occur on application
      by the Company or another Member, where it has been judicially determined that the Member:
      has engaged in wrongful conduct that adversely and materially affected the Company's business;
      has willfully or persistently committed a material breach of this Agreement or of a duty owed to
      the Company or to the other Members; or has engaged in conduct relating to the Company's
      business that makes it not reasonably practicable to carry on the business with the Member.


  29. The involuntary withdrawal of a Member will have no effect upon the continuance of the
      Company.


      Dissociation of a Member
  30. In the event of either a voluntary or involuntary withdrawal of a Member, if the remaining
       Members elect to purchase the interest of the withdrawing Member, the remaining Members will
     serve written notice of such election, including the purchase price and method and schedule of
     payment for the withdrawing Member's Interests, upon the withdrawing Member, their executor,
     administrator, trustee, committee or analogous fiduciary within a reasonable period after
      acquiring knowledge of the change in circumstance to the affected Member. The purchase
      amount of any buyout of a Member's Interests will be determined as set out in the Valuation of
      Interest section of this Agreement.
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  31. Valuation and distribution will be determined as described in the Valuation of Interest section of
       this Agreement.


   32. The remaining Members retain the right to seek damages from a dissociated Member where the
       dissociation resulted from a malicious or criminal act by the dissociated Member or where the
       dissociated Member had breached their fiduciary duty to the Company or was in breach of this
       Agreement or had acted in a way that could reasonably be foreseen to bring harm or damage to
       the Company or to the reputation of the Company.


   33. A dissociated Member will only have liability for Company obligations that were incurred during
       their time as a member. On dissociation of a Member, the Company will prepare, file, serve, and
       publish all notices required by law to protect the dissociated Member from liability for future
       Company obligations.

   34. Where the remaining Members have purchased the interest of a dissociated Member, the purchase
       amount will be paid in full, but without interest, within 90 days of the date of withdrawal. The
       Company will retain e elusive rights to use of the trade name and firm name and all related
       brand and model name of the Company.

        Ri ht of First Purcha, e
   35. In the event that a Me ber's Interest in the Company is or will be sold, due to any reason, the
        remaining Members "11 have a right of first purchase of that Member's Interest. The value of
        that interest in the Co pany will be the lower of the value set out in the Valuation of Interest
        section of this Agreement and any third party offer that the Member wishes to accept.

        Assignment of Interest
   36. In the event that a Member's interest in the company is transferred or assigned as the result of a
        court order or Operation of Law, the trustee in bankruptcy or other person acquiring that
        Member's Interests in the Company will only acquire that Member's economic rights and
       interests and will not acquire any other rights of that Member or be admitted as a Member of the
       Company or have the right to exercise any management or voting interests.

        Valuation of Interest
   37. In the event of a dissociation or the dissolution of the Company, each Member will have an equal
        financial interest in the Company.


   38. In the absence of a written agreement setting a value, the value of the Company will be based on
        the fair market value appraisal of all Company assets (less liabilities) determined in accordance
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      with generally accepted accounting principles (GAAP). This appraisal will be conducted by an
      independent accounting firm agreed to by all Members. An appraiser will be appointed within a
      reasonable period of the date of withdrawal or dissolution. The results of the appraisal will be
      binding on all Members. The intent of this section is to ensure the survival of the Company
      despite the withdrawal of any individual Member.


  39. No allowance will be made for goodwill, trade name, patents or other intangible assets, except
      where those assets have been reflected on the Company books immediately prior to valuation.


      Dissolution
  40. The Company may be dissolved by a unanimous vote of the Members. The Company will also be
      dissolved on the occurrence of events specified in the Act.

  41. Upon Dissolution of the Company and liquidation of Company property, and after payment of all
      selling costs and expenses, the liquidator will distribute the Company assets to the following
      groups according to the following order of priority:

          a. in satisfaction of liabilities to creditors except Company obligations to current Members.

          b. in satisfaction of Company debt obligations to current Members; and then

          c. to the Members based on Member financial interest, as set out in the Valuation of Interest
              section of this Agreement.

      Records
  42. The Company will at all times maintain accurate records of the following:

          a. Information regarding the status of the business and the financial condition of the
              Company.


          b. A copy of the Company federal, state, and local income taxes for each year, promptly
             after becoming vailable.

          c. Name and last knovvn business, residential, or mailing address of each Member, as well as
             the date that person became a member.

          d. A copy of this Agreement and any articles or certificate of formation, as well as all
             amendments, together with any executed copies of any written powers of attorney
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              pursuant to which this Agreement, articles or certificate, and any amendments have been
              executed.


           e. The cash, property, and services contributed to the Company by each Member, along with
              a description and value, and any contributions that have been agreed to be made in the
              future.

   43. Each Member has the right to demand, within a reasonable period of time, a copy of any of the
       above documents for any purpose reasonably related to their interest as a Member of the
       Company, at their expense.

       Books of Account
   44. Accurate and complete books of account of the transactions of the Company will be kept in
       accordance with generally accepted accounting principles (GAAP) and at all reasonable times
       will be available and open to inspection and examination by any Member. The books and records
       of the Company will reflect all the Company's transactions and will be appropriate and adequate
       for the business conducted by the Company.

       Banking and Company Funds
   45. The funds of the Company will be placed in such investments and banking accounts as will be
       designated by the Members. All withdrawals from these accounts will be made by the duly
       authorized agent or agents of the Company as appointed by unanimous consent of the Members.
       Company funds will be held in the name of the Company and will not be commingled with those
       of any other person or entity.

       Audit
   46. Any of the Members will have the right to request an audit of the Company books. The cost of the
       audit will be borne by the Company. The audit will be performed by an accounting firm
       acceptable to all the Members. Not more than one (1) audit will be required by any or all of the
       Members for any fiscal year.

       Fiscal Year End
   47. The fiscal year end of the Company is the 31st day of December.

       Tax Treatment
   48. This Company is intended to be treated as a corporation, for the purposes of Federal and State
       Income Tax.
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      Annual Report
  49. As soon as practicable after the close of each fiscal year, the Company will furnish to each
      Member an annual report showing a full and complete account of the condition of the Company
      including all information as will be necessary for the preparation of each Member's income or
      other tax returns. This report will consist of at least:

           a. A copy of the Company's federal income tax returns for that fiscal year.


          b. Income statement.


           c. Balance sheet.


          d. Cash flow statement.


           e. A breakdown of the profit and loss attributable to each Member.


      Goodwill
  50. The goodwill of the Company will be assessed at an amount to be determined by appraisal using
      generally accepted accounting principles (GAAP).


      Governing Law
  51. The Members submit to the jurisdiction of the courts of the State of Delaware for the enforcement
      of this Agreement or any arbitration award or decision arising from this Agreement.

      Force Majeure
  52. A Member will be free of liability to the Company where the Member is prevented from
      executing their obligations under this Agreement in whole or in part due to force majeure, such
      as earthquake, typhoon, flood, fire, and war or any other unforeseen and uncontrollable event
      where the Member has communicated the circumstance of the event to any and all other
      Members and where the Member has taken any and all appropriate action to satisfy his duties and
      obligations to the Company and to mitigate the effects of the event.


      Forbidden Acts
  53. No Member may do any act in contravention of this Agreement.


  54. No Member may permit, intentionally or unintentionally, the assignment of express, implied or
      apparent authority to a third party that is not a Member of the Company.
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   55. No Member may do any act that would make it impossible to carry on the ordinary business of
       the Company.


   56. No Member will have the right or authority to bind or obligate the Company to any extent with
       regard to any matter outside the intended purpose of the Company.


   57. No Member may confess a judgment against the Company.

   58. Any violation of the above forbidden acts will be deemed an Involuntary Withdrawal and may be
       treated accordingly by the remaining Members.


       Indemnification
   59. All Members will be indemnified and held harmless by the Company from and against any and
       all claims of any nature, whatsoever, arising out of a Member's participation in Company affairs.
       A Member will not be entitled to indemnification under this section for liability arising out of
       gross negligence or willful misconduct of the Member or the breach by the Member of any
       provisions of this Agreement.

       Liability
   60. A Member or any employee will not be liable to the Company or to any other Member for any
       mistake or error in judgment or for any act or omission believed in good faith to be within the
       scope of authority conferred or implied by this Agreement or the Company. The Member or
       employee will be liable only for any and all acts and omissions involving intentional
       wrongdoing.

       Liability Insurance
   61. The Company may acquire insurance on behalf of any Member, employee, agent or other person
       engaged in the business interest of the Company against any liability asserted against them or
       incurred by them while acting in good faith on behalf of the Company.


       Life Insurance
   62. The Company will have the right to acquire life insurance on the lives of any or all of the
       Members, whenever it is deemed necessary by the Company. Each Member will cooperate fully
       with the Company in obtaining any such policies of life insurance.

       Actions Requiring Unanimous Consent
   63. The following actions will require the unanimous consent of all Members:
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           a. Incurring Company liabilities over $0.00.


           b. Incurring a single transaction expense over $0.00.


           c. Endangering the ownership or possession of Company property including selling,
              transferring or loaning any Company property or using any Company property as
              collateral for a loan.


           d. Releasing any Company claim except for payment in full.


      Amendment of this Agreement
  64. No amendment or modification of this Agreement will be valid or effective unless in writing and
      signed by all Members.


      Title to Company Property
  65. Title to all Company property will remain in the name of the Company. No Member or group of
      Members will have a y ownership interest in Company property in whole or in part.


      Miscellaneous
  66. Time is of the essenc        is Agreem n


  67. This Agreement may e executed in counterparts.


  68. Headings are inserted for the convenience of the Members only and are not to be considered
      when interpreting this Agreement. Words in the singular mean and include the plural and vice
      versa. Words in the masculine gender include the feminine gender and vice versa. Words in a
      neutral gender include the masculine gender and the feminine gender and vice versa.


  69. If any term, covenant, condition or provision of this Agreement is held by a court of competent
      jurisdiction to be invalid, void or unenforceable, it is the Members' intent that such provision be
      reduced in scope by the court only to the extent deemed necessary by that court to render the
      provision reasonable and enforceable and the remainder of the provisions of this Agreement will
      in no way be affected, impaired or invalidated as a result.


  70. This Agreement contains the entire agreement between the Members. All negotiations and
      understandings have been included in this Agreement. Statements or representations that may
      have been made by any Member during the negotiation stages of this Agreement, may in some
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      way be inconsistent with this final written Agreement. All such statements have no force or effect
      in respect to this Agreement. Only the written terms of this Agreement will bind the Members.


   71. This Agreement and the terms and conditions contained in this Agreement apply to and are
      binding upon each Member's successors, assigns, executors, administrators, beneficiaries, and
       representatives.

   72. Any notices or delivery required here will be deemed completed when hand-delivered, delivered
      by agent, or seven (7) days after being placed in the post, postage prepaid, to the Members at the
      addresses contained in this Agreement or as the Members may later designate in writing.


   73. All of the rights, remedies and benefits provided by this Agreement will be cumulative and will
       not be exclusive of any other such rights, remedies and benefits allowed by law.

       Definitions
   74. For the purpose of this Agreement, the following terms are defined as follows:

           a. "Additional Contribution" means Capital Contributions, other than Initial Contributions,
              made by Members to the Company.

           b. "Capital Contribution" means the total amount of cash, property, or services contributed to
               the Company by any one Member.

            c. "Distributions" means a payment of Company profits to the Members.

           d. "Initial Contribution" means the initial Capital Contributions made by any Member to
              acquire an interest in the Company.

            e. "Member's Interests" means the Member's collective rights, including but not limited to,
                the Member's right to share in profits, Member's right to a share of Company assets on
               dissolution of the Company, Member's voting rights, and Member's rights to participate in
               the management of the Company.


            f. "Net Profits or Losses" means the net profits or losses of the Company as determined by
                generally accepted accounting principles (GAAP).
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            g. "Operation of Law" means rights or duties that are cast upon a party by the law, without
               any act or agreement on the part of the individual, including, but not limited to, an
               assignment for the benefit of creditors, a divorce, or a bankruptcy.


            h. "Principal Office" means the office whether inside or outside the State of Delaware where
               the executive or management of the Company maintain their primary office.


            i. "Voting Members" means the Members who belong to a membership class that has voting
                power. Where there is only one class of Members, then those Members constitute the
               Voting Members.


IN WITNESS WHEREOF the Members have duly affixed their signatures under hand and seal on this
18th day of January 2023.

SIGNED, SEALED, AND DELIVERED

in the presence of:



                                      (Sign)
                                                                                                      otIttimr4/,_
Witness Name: L ..),,ujr\ t-A                         Denise Edwards (Member)                           MANGAw
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SIGNED, SEALED, AND DELIVERED

in the presence of:



Witness:                              (Sign)

Witness Name:                    Teloere)             Lolonyon Akouete (Member)


                                                             JOEL VOZLO
                                                     Notary Public, State of New York
                                                           No. 01V06213484
                                                       Qualified in t lister    ty
                                                     Commission Ex s
